         Case 1:24-mj-00032-GMH Document 1-1 Filed 01/29/24 Page 1 of 6




                                   STATEMENT OF FACTS

        Your affiant,                  , is a Special Agent with the Federal Bureau of Investigation
(FBI) assigned to Baltimore, Maryland field office. In my duties as a special agent, I am currently
assigned to the Joint Terrorism Task Force. My current position is devoted to investigating,
managing, and supporting both international and domestic terrorism investigations which often
involve violations of Title 18 of the United States Code. This includes investigations of criminal
activities at the U.S. Capitol Building on January 6, 2021. Currently, I am tasked with investigating
criminal activity in and around the Capitol grounds on January 6, 2021. As a Special Agent, I am
authorized by law or by a Government agency to engage in or supervise the prevention, detection,
investigation, or prosecution of a violation of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification are allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.
         Case 1:24-mj-00032-GMH Document 1-1 Filed 01/29/24 Page 2 of 6




        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

         On or about January 7, 2021, an anonymous tipster, submitted an online tip to the FBI
National Threat Operations Center (NTOC) via tips.fbi.gov to report “Terry Roberts” being a part
of the riot in the Capitol on January 6, 2021. The tipster said "I have been informed that a coworker
from the Dominos store in Silver Spring, MD was in fact inside the capitol yesterday 1/6/2021.
His name is Terry Roberts. Phone number (XXX) XXX-6196. He lives in Kensington, Maryland."
Through database searches, the FBI learned that Terrell Andrew ROBERTS lives in Kensington,
Maryland, and is associated with the same phone number provided by the tipster.

       The FBI conducted queries of Maryland Motor Vehicle Administration databases and
located a driver’s license photograph for ROBERTS. On or about January 12, 2021, the FBI
submitted ROBERTS’s Maryland driver’s license photograph for facial recognition against digital
media related to the events at the U.S. Capitol on January 6. This query yielded positive facial
recognition matches from ROBERTS’s driver’s license picture. The facial recognition matches
showing ROBERTS inside the U.S. Capitol on January 6 are included below:




                 Figure 1: Original matches to driver’s license photo submission
       On or about February 11, 2022, investigators interviewed an individual, hereinafter
WITNESS 1, who has had multiple contacts with ROBERTS as his former employer. WITNESS
1 was shown multiple photographs of ROBERTS from inside and around the Capitol Building on
January 6, 2021. WITNESS 1 identified the person as Terrell Andrew ROBERTS.

       FBI Baltimore subsequently completed a review of the United States Capitol Police Closed
Caption Television security video (CCTV) and open sourced video from inside and outside the US
Capitol Building on January 6, 2021.

       According to video footage, ROBERTS was present on the West Plaza of the United States
Capitol as rioters breached the Northwest Stairs leading to the West Terrace. At the West Plaza,
ROBERTS can be seen observing other rioters climbing stairs underneath scaffolding.


                                                 2
        Case 1:24-mj-00032-GMH Document 1-1 Filed 01/29/24 Page 3 of 6




             Figure 2: Open source video taken from bottom of Northwest Stairs


       ROBERTS made his way up the stairs to the Senate Wing Door, and observed individuals
entering the building through broken windows and a broken door. See Figure 3. ROBERTS then
entered the building through the Senate Wing Door at approximately 3:03 p.m., leaving the
building a minute later.




                                            3
        Case 1:24-mj-00032-GMH Document 1-1 Filed 01/29/24 Page 4 of 6




                Figure 3: Open source photograph outside Senate Wing Door
       ROBERTS reentered the building at approximately 3:06 p.m. and joined other rioters in
chants of “U.S.A.!”




                                  Figure 4: Capitol CCTV


                                             4
         Case 1:24-mj-00032-GMH Document 1-1 Filed 01/29/24 Page 5 of 6




ROBERTS remained in the hallway by the Senate Wing Door. At approximately 3:15 p.m.,
ROBERTS left the Capitol through the Senate Wing Door:




                                     Figure 5: Capitol CCTV
        Based on the foregoing, your affiant submits that there is probable cause to believe that
Terrell A. Roberts violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1)
knowingly enter or remain in any restricted building or grounds without lawful authority to do so;
and (2) knowingly, and with intent to impede or disrupt the orderly conduct of Government
business or official functions, engage in disorderly or disruptive conduct in, or within such
proximity to, any restricted building or grounds when, or so that, such conduct, in fact, impedes or
disrupts the orderly conduct of Government business or official functions; or attempts or conspires
to do so. For purposes of Section 1752 of Title 18, a “restricted building” includes a posted,
cordoned off, or otherwise restricted area of a building or grounds where the President or other
person protected by the Secret Service, including the Vice President, is or will be temporarily
visiting; or any building or grounds so restricted in conjunction with an event designated as a
special event of national significance.

        Your affiant submits there is also probable cause to believe that Terrell A. Roberts violated
40 U.S.C. § 5104(e)(2)(D) and (G), which makes it a crime to willfully and knowingly, (D) utter
loud, threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place
in the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the
orderly conduct of a session of Congress or either House of Congress, or the orderly conduct in
that building of a hearing before, or any deliberations of, a committee of Congress or either House
of Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.




                                                 5
        Case 1:24-mj-00032-GMH Document 1-1 Filed 01/29/24 Page 6 of 6




                                                    _                                ______

                                                    FBI

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
telephone, this 29th day of January 2024.


                                                    ___________________________________
                                                    G. MICHAEL HARVEY
                                                    U.S. MAGISTRATE JUDGE




                                                6
